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 6   Attorney for YAO MING YU
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11                                 UNITED STATES DISTRICT COURT

12                                EASTERN DISTRICT OF CALIFORNIA
13
                                           FRESNO DIVISION
14

15
      UNITED STATES OF AMERICA,                          )   No. 1:11 CR 00113 - AWI - 6
16                                                       )
                           Plaintiff,                    )
17
                                                         )   [CORRECTED] REQUEST FOR
18                   V.                                  )   RULE 43 WAIVER OF
                                                         )   APPEARANCE AND PROPOSED
19    ANDY YUNG KWONG CHAN, et. al.                      )   ORDER
                                                         )
20
                          Defendants.                    )
21                                                       )
                                                         )
22

23
            COMES NOW DEFENDANT YAO MING YU, by and through his attorney HARRIS B.

24
     TABACK, who respectfully requests that his personal appearance pursuant to Federal Rule of

25   Criminal Procedure 43 be waived for the October 11, 2016 Status Conference.

26          YU lives and works in the San Francisco Bay area and relies on his wages to care for his

27   wife and two children. He has been informed of this hearing by attorney Taback who has also

28   told him of the status of the case and that his attorneys have arranged for co-defendant’s counsel
          Case 1:11-cr-00113-DAD-BAM Document 170 Filed 10/06/16 Page 2 of 3


 1   to appear special for him at said Status Conference. YU agrees with the arrangement for
 2   representation and respectfully requests that his appearance be waived.
 3
            //////////////
 4
            /////////////
 5
     Dated: October 4, 2016                            Respectfully submitted,
 6
                                                       LAW OFFICES OF HARRIS B. TABACK
 7

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 9
                                                 By:                ss
10
                                                       HARRIS B. TABACK
                                                       ATTORNEY FOR YAO MING YU
11

12
           I, YAO MING YU, both understand my right to personally be present at the October 11,
13
     2016 Status Conference and hereby waive that right. Further, I consent to have the Office of
14
     Attorney Robert Lyons appear specially for my counsel on my behalf.
15

16
     Dated: October 4, 2016                            ______________ss_______________________
17                                                     YAO MING YU
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          Case 1:11-cr-00113-DAD-BAM Document 170 Filed 10/06/16 Page 3 of 3


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      UNITED STATES OF AMERICA,                      )   No. 1:11 CR 00113 - AWI-BAM (006)
10
                                                     )
11
                           Plaintiff,                )
                                                     )   [PROPOSED] ORDER WAIVING
12                   V.                              )   DEFENDANT YAO MING YU’S
                                                     )   PERSONAL APPEARANCE AT
13    ANDY YUNG KWONG CHAN, et. al.                  )   THE OCTOBER 11, 2016 STATUS
                                                     )   CONFERENCE PURSUANT TO
14
                          Defendants.                )   RULE 43
15                                                   )
                                                     )
16

17
            GOOD CAUSE APPEARING, IT IS HEREBY ORDERED pursuant to Federal Rule of
18
     Criminal Procedure 43 that Defendant YAO MING YU’s (06) personal appearance at the
19
     October 11, 2016 Status Conference is waived.
20

21
     IT IS SO ORDERED.
22

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     Dated: October 6, 2016                 /s/ Barbara A. McAuliffe
                                        UNITED STATES MAGISTRATE JUDGE
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